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 4

 5   Attorney for Defendant, ANTHONY BLAINE HUNT

 6

 7                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,             )           Case No. 1:06CR00299 AWI
                                           )
10                     Plaintiff,          )           STIPULATION AND ORDER
                                           )           CONTINUING SENTENCING
11   v.                                    )
                                           )
12   ANTHONY BLAINE HUNT,                  )
                                           )
13                     Defendant.          )
                                           )
14   _____________________________________ )

15            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective

16   counsel, that sentencing currently scheduled for Monday, February 11, 2008, at 9:00 a.m., be

17   continued to Monday, February 25, 2008, at 9:00 a.m.

18   Dated:         February 7, 2008     /s/
                                         DALE A. BLICKENSTAFF
19                                       Attorney for Defendant, ANTHONY BLAINE HUNT

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21   Dated:         February 7, 2008     /s/
                                         STANLEY A. BOONE
22                                       Assistant U. S. Attorney

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 1                                             ORDER

 2
            IT IS HEREBY ORDERED that the new date for sentencing regarding Defendant, ANTHONY
 3
     BLAINE HUNT, only, is Monday, February 25, 2008, at 9:00 a.m.
 4
     IT IS SO ORDERED.
 5
     Dated:    February 8, 2008                     /s/ Anthony W. Ishii
 6   9h0d30                                   UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER CONTINUING SENTENCING - Case No. 1:06CR00299 AWI              Page 2
